                          Case 2:18-cv-07736 Document 3 Filed 09/05/18 Page 1 of 3 Page ID #:103




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                            DEPUY ORTHOPAEDICS, INC. n/k/a MEDICAL DEVICE
                      8     BUSINESS SERVICES INC.; JOHNSON & JOHNSON;
                            JOHNSON & JOHNSON SERVICES, INC.
                      9
                   10                             UNITED STATES DISTRICT COURT
                   11                           CENTRAL DISTRICT OF CALIFORNIA
                   12
                   13       SHERRY KINNE,                               Case No.
                   14                       Plaintiff,                  CERTIFICATION OF INTERESTED
                                                                        ENTITIES OR PERSONS
                   15             vs.
                   16       DEPUY ORTHOPAEDICS, INC.,
                            an Indiana corporation; JOHNSON
                   17       & JOHNSON, a New Jersey
                            corporation; JOHNSON &
                   18       JOHNSON SERVICES, INC., a
                            New Jersey corporation; THOMAS
                   19       SCHMALZRIED, M.D., an
                            individual THOMAS P.                        JURY TRIAL DEMANDED
                   20       SCHMALZRIED, M.D. A
                            PROFESSIONAL CORPORATION,
                   21       a California corporation; and DOES
                            1 through 50, inclusive,                    Complaint Filed: July 19, 2018
                   22
                                            Defendants.
                   23
                   24             The undersigned, counsel of record for Defendants DEPUY
                   25       ORTHOPAEDICS, INC. n/k/a MEDICAL DEVICE BUSINESS SERVICES INC.,
                   26       JOHNSON & JOHNSON, and JOHNSON & JOHNSON SERVICES, INC.
                   27       certifies that the following listed persons, associations of persons, firms,
                   28       partnerships, corporations (including parent corporations) or other entities (i) have a
   B ARNES &
T HORNB URG LLP
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                                               CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                          Case 2:18-cv-07736 Document 3 Filed 09/05/18 Page 2 of 3 Page ID #:104




                      1     financial interest in the subject matter in controversy or in a party to the proceeding,
                      2     or (ii) have a non-financial interest in that subject matter or in a party that could be
                      3     substantially affected by the outcome of this proceeding:
                      4           1.     Plaintiff SHERRY KINNE;
                      5           2.     Defendant DEPUY ORTHOPAEDICS, INC., which is a subsidiary of
                      6     DePuy Synthes, Inc., which is a subsidiary of Johnson & Johnson International,
                      7     which is a subsidiary of Johnson & Johnson;
                      8           3.     Defendant JOHNSON & JOHNSON SERVICES, INC., which is a
                      9     subsidiary of Johnson & Johnson International, which is a subsidiary of Johnson &
                   10       Johnson;
                   11             4.     Defendant JOHNSON & JOHNSON; and
                   12             5.     Defendant THOMAS SCHMALZRIED, M.D., an individual; and
                   13             6.     Defendant THOMAS P. SCHMALZRIED, M.D. A PROFESSIONAL
                   14       CORPORATION.
                   15
                            Dated: September 5, 2018                     BARNES & THORNBURG LLP
                   16
                   17
                   18                                                    By:
                                                                           David C. Allen
                   19                                                      Kelley S. Olah
                                                                           Gabrielle Anderson-Thompson
                   20                                                      Attorneys for Defendants
                                                                           DEPUY ORTHOPAEDICS, INC.
                   21                                                      n/k/a MEDICAL DEVICE
                                                                           BUSINESS SERVICES INC.;
                   22                                                      JOHNSON & JOHNSON;
                                                                           JOHNSON & JOHNSON
                   23                                                      SERVICES, INC.
                   24
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T HORNB URG LLP
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                                               CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                          Case 2:18-cv-07736 Document 3 Filed 09/05/18 Page 3 of 3 Page ID #:105




                      1                               CERTIFICATE OF SERVICE
                      2            I am over the age of eighteen years and not a party to the within-entitled
                            action. My business address is 2029 Century Park East, Suite 300, Los Angeles,
                      3     California 90067. On September 5, 2018, I served a copy of the within
                            document(s):
                      4
                                   CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                      5
                            on the interested party(ies) below:
                      6
                            Paul R. Kiesel
                      7     Melanie Meneses Palmer
                            Cherisse Heidi A. Cleofe
                      8     KIESEL LAW LLP
                            8646 Wilshire Boulevard
                      9     Beverly Hills, CA 90211-2910
                            Telephone: (310) 854-4444
                   10       Fax: (310) 854-0812
                            Attorneys for Plaintiff
                   11
                                   BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                   12
                                   the document(s) with the Clerk of the Court by using the CM/ECF system.
                   13              Participants in the case who are registered CM/ECF users will be served by
                                   the CM/ECF system. Participants in the case who are not registered
                   14
                                   CM/ECF users will be served by mail or by other means permitted by the
                   15              court rules.
                   16
                                   Following ordinary business practices, the envelope was sealed and placed
                   17
                            for collection and mailing on this date, and would, in the ordinary course of
                   18       business, be deposited with the United States Postal Service on this date.
                   19
                                 I declare I am employed in the office of a member of the bar of this court at
                   20       whose direction the service was made.
                   21
                                  Executed on September 5, 2018, at Los Angeles, California.
                   22

                   23

                   24                                                               Jerod Williams
                   25

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                   28
   B ARNES &
T HORNB URG LLP
ATT ORNE YS AT LA W
   LO S ANGEL ES
                                                           CERTIFICATE OF SERVICE
